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                             A TRUE COPY-ATTEST                                                CELLOR
                                       W/Mron Hajr*     rk & Master
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                ,. . . . :     : .           ;      CERTIFICATE OF SERVICE

                I hereby certify that 6n this, the                                        ; 2020, a ed# Of dte foregoing
                      o



        SCIG Series III Trust                                                       U<S Bank Trust National Association
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